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                                                             EXHIBIT E
                            U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES

PRELIMINARY CLAIM CHART PENDING DISCLOSURES


The Accused Instrumentalities are as defined in the Complaint. As set forth in the Complaint, the Accused Instrumentalities utilize
Autosar 4.x.x, and, thus, inherently practice the limitations set forth below as demonstrated by the correspondence of Autosar to the
claim limitations.


          Claim 1                                               Accused Instrumentalities
 A layered system for       Autosar explicitly requires providing a layered system architecture, and standardizing interfaces
 sharing information in     for sharing information.
 an automobile vehicle,
 said system comprising:            “3 Requirements Tracing
                                    …
                                    [RS_Main_00060] AUTOSAR shall provide a standardized software interface for
                                    communication between Applications
                                    …
                                    [RS_Main_00140] AUTOSAR shall provide network independent communication
                                    mechanisms for applications
                                    …
                                    [RS_Main_00400] AUTOSAR shall provide a layered software architecture”

                            Autosar Document ID 294, “Requirements on AUTOSAR Features”, v.4.4.0, pp. 7-9.




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                                                          EXHIBIT E
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an automotive electronic Autosar explicitly states it comprises “an automotive electronic control unit” (e.g., “AUTOSAR is
control unit comprising dedicated for automotive ECUs …”), and that such ECUs comprise a microprocessor (e.g.,
a micro-processor and    “microcontrollers”) and an operating system (e.g., “operating system” in Basic Software layer).
an operating system;




                          Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 19.




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                                                         EXHIBIT E
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        Claim 1                                         Accused Instrumentalities




                          Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 79

a hardware abstraction    Autosar requires a hardware abstraction layer (e.g., “Microcontroller Abstraction Layer”, “ECU
layer within the          abstraction layer”, “complex drivers”, etc.) within the electronic control unit allowing the
electronic control unit   operating system to be adapted to a specific hardware implementation as used in the electronic
allowing the operating    control unit.
system to be adapted to
a specific hardware
implementation as used




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                                                            EXHIBIT E
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         Claim 1                                          Accused Instrumentalities
in the electronic control
unit;




                            Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 21.

non-volatile memory         Autosar requires “non-volatile memory” (e.g., “internal or external flash memory”) that
comprising a database       “compris[e] a database with a data structure”.
with a data structure;




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                                                EXHIBIT E
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Claim 1                                        Accused Instrumentalities




                 Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 19.




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                                                  EXHIBIT E
                 U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES
Claim 1                                        Accused Instrumentalities




                 Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 28.


                 A “database” is just a manner by which data can be stored. Merriam Webster defines database as
                 “a usually large collection of data organized especially for rapid search and retrieval (as by a
                 computer).” https://www.merriam-webster.com/dictionary/database. This inherently requires a
                 data structure. Most databases store the data in files that are arranged in a specific manner. That
                 format allows for fast lookups, sorting, inserts, etc. As such, any sort of memory constitutes a
                 “database with a data structure” since it is stored in there in a specific manner that allows pulling
                 the data back out efficiently. This is sort of storage is required by AUTOSAR:

                        An AUTOSAR Model is an instance of the metho (-> definition 3.154). The information
                        contained in the AUTOSAR Model can be anything that is representable according to the
                        AUTOSAR Meta Model. The AUTOSAR Model can be stored in many different ways: it
                        might be a set of files in a file system, an XML stream, a database or memory used by
                        some running software tools, etc.
                 Autosar Document ID 055, “Glossary”, v.4.2.2, p. 62.

                        Example input work products for Generate RTE Activity include Software Components,
                        ECU Communication Database, ECU Configuration.



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                                                           EXHIBIT E
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        Claim 1                                           Accused Instrumentalities
                           Autosar Document ID 362, “Requirements on Methodology”, v.4.2.2, p. 20

                                  The listed configuration items can be derived from a network description database, which
                                  is based on the EcuConfigurationTemplate. The configuration tool shall extract all
                                  information to configure the XCP.
                           Autosar Document ID 412, “Specification of Module XCP”, v.4.4.0, p. 37

a memory manager           Autosar requires a memory manager associated with the non-volatile memory (e.g., the various
associated with the non-   software modules in the Services Layer that are involved with controlling the non-volatile
volatile memory, said      memory, including the Autosar OS module, the NVRAM Manager, the Diagnostic Event
memory manager             Manager, etc.), said memory manager comprising an upgrade and configuration manager to
comprising                 configure the data structure of the non-volatile memory, an event manager to capture input-output
                           events as variables and generate new events, flags or signals, a data access manager to control
an upgrade and             code update and configuration of the memory and access rights for individual applications at
configuration manager      execution, and a data integrity component to analyze stored state variables for integrity and
to configure the data      generate events or flags if any problem occurs.
structure of the non-
volatile memory,           Upgrade/Configuration Manager
                           The modules in the Services Layer contain an upgrade and configuration manager to configure
an event manager to        the data structure of the non-volatile memory (e.g., the configurable structure of the NVRAM
capture input-output       Block). The NVRAM Manager is required to be able to configure at least “native Block
events as variables and    management types,” and each application in Autosar is required to be able to declare memory
generate new events,       requirements at the time of configuration.
flags or signals,

a data access manager to
control code update and


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                                                           EXHIBIT E
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         Claim 1                                           Accused Instrumentalities
configuration of the
memory and access
rights for individual
applications at
execution, and
                                   …
a data integrity
component to analyze
stored state variables for
integrity and generate       Autosar Document ID 007, “Requirements on Memory Services”, v.4.4.0, p. 8
events or flags if any
problem occurs;




                             Autosar Document ID 033, “Specification of NVRAM Manager”, v.4.4.0, p. 186




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Claim 1                                        Accused Instrumentalities




                 Autosar Document ID 007, “Requirements on Memory Services”, v.4.4.0, p. 13




                 Autosar Document ID 007, “Requirements on Memory Services”, v.4.4.0, p. 14



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                                                 EXHIBIT E
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Claim 1                                                Accused Instrumentalities
                  Further, as part of the configuration of an NVRAM block, the NVRAM manager must be able to
                  describe which aspects of the NV blocks are to present (e.g., the header and block CRC are
                  optional).




                  Autosar Document ID 033, “Specification of NVRAM Manager”, v.4.4.0, p. 27

                  Event Manager

                  The modules in the Services Layer contain an event manager to capture input-output events as
                  variables and generate new events, flags, or signals.



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Claim 1                                         Accused Instrumentalities

                  Autosar utilizes the Diagnostic Event Manager to capture certain events. For example,
                  Dem_SetEventStatus is “used by BSW modules to report errors from the point in time when the
                  Dem module is pre-initialized. Within Dem_Init, the queued events are processed. During normal
                  operation (after full initialization), the queuing mechanism of the API Dem_SetEventStatus is
                  necessary to process the reported fault within the main function of the Dem module.” See
                  Autosar Document ID 019, “Specification of Diagnostic Event Manager”, v.4.4.0, p. 117.




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                                                  EXHIBIT E
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Claim 1                                         Accused Instrumentalities




                  Autosar Document ID 019, “Specification of Diagnostic Event Manager”, v.4.4.0, pp. 239-40.

                  Each event is captured as a variable (e.g., an assigned EventID, EventStatus, etc.). The Dem
                  module works with the NVRAM Manager to store event-related data in non-volatile memory
                  blocks.




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                                                 EXHIBIT E
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Claim 1                                         Accused Instrumentalities




                  Autosar Document ID 019, “Specification of Diagnostic Event Manager”, v.4.4.0, p. 200.

                  Within the NVRAM Manager, when an input-output event occurs, the NVRAM manager may
                  cause an event to be generated, which then gets captured.

                  For example, “a single-block callback issued from an NvM_ReadAll will result in an RTE event”:




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                                                  EXHIBIT E
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Claim 1                                           Accused Instrumentalities
                  Autosar Document ID 033, “Specification of NVRAM Manager”, v.4.4.0, p. 118


                  The Autosar software will then report the new event via, e.g., the Dem_SetEventStatus API. This
                  combination of modules thus captures input-output events as variables.

                  Further, because the NVRAM manager may generate an error flag (see, e.g.,
                  NVM_E_WRONG_BLOCK_ID reported by the NvM module if, after the block data is
                  successfully read from the non-volatile memory, the Static ID that was retrieved is not the same
                  as the current one, for the block the read was requested for.), the combination of modules is
                  capable of generating a new event, flag, or signal.

                         “The Non-Volatile RAM Manager (NVRAM Manager) manages the storage of data in all
                         kinds of non-volatile memory. The NVRAM manager itself shall be hardware
                         independent, all functionality which is directly accessing hardware, e.g. internal or
                         external EEPROM, emulated EEPROM in internal or external flash, etc. is encapsulated
                         in lower layers of the Basic SW. The NVRAM manager handles concurrent accesses to
                         the non-volatile data and provides reliability mechanisms like checksum protection for
                         single data elements.”
                  Autosar Document ID 007, “Requirements on Memory Services”, v.4.4.0, p. 10




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Claim 1                                         Accused Instrumentalities




                  Autosar Document ID 033, “Specification of NVRAM Manager”, v.4.4.0, p. 67

                  Data Access Manager
                  The modules in the Services Layer contain a data access manager to control code update and
                  configuration of the memory and access rights for individual applications at execution.

                  The OS first determines whether the application has access to a given memory location, and the
                  call will either return the access rights, or if the access right is not valid, no access shall be given:




                  Autosar Document ID 034, “Specification of Operating System”, v.4.4.0, p. 139



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Claim 1                                         Accused Instrumentalities

                  Further, the OS contains memory protection that will enforce private data within an application:




                  Autosar Document ID 034, “Specification of Operating System”, v.4.4.0, p. 62

                  Further, the OS allows operation in “privileged” mode, which allows access to all memory
                  locations, whereas non-privileged mode, which is configured at execution time, disables access to
                  certain locations.




                  Autosar Document ID 034, “Specification of Operating System”, v.4.4.0, p. 76




                  Autosar Document ID 034, “Specification of Operating System”, v.4.4.0, p. 77


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Claim 1                                         Accused Instrumentalities

                  Data Integrity Component

                  The modules in the Services Layer contain a data integrity component that analyzes data
                  (including state variables) stored in NVRAM and will generate events or flags if a problem occurs
                  (e.g., if the “NVM_E_INTEGRITY_FAILED” condition is detected.)




                  Autosar Document ID 033, “Specification of NVRAM Manager”, v.4.4.0, p. 21

                         7.2.2.4 NVRAM block consistency check
                         “[SWS_NvM_00164] ⌈The NvM module shall provide implicit techniques to check the
                         data consistency of NVRAM blocks [ECUC_NvM_00476], [SWS_NvM_00040]. ⌋
                         (SRS_Mem_08547, SRS_Mem_00030)”

                  Autosar Document ID 033, “Specification of NVRAM Manager”, v.4.4.0, p. 42




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        Claim 1                                           Accused Instrumentalities




                            Autosar Document ID 033, “Specification of NVRAM Manager”, v.4.4.0, p. 66

the non-volatile memory     Autosar requires non-volatile memory further comprising instructions to receive information
further comprising          (e.g., an SDU) in the form of a packet data unit (e.g., a PDU) representing datum information
instructions to:            carried by an overall message from a first physical network selected from the group consisting of
receive information in      FlexRay, Controller Area Network, and Local Interconnect Network.
the form of a packet data
unit representing datum     AUTOSAR, by definition, is designed to communicate messages utilizing one of several network
information carried by      protocols. Thus:
an overall message from
a first physical network           “AUTOSAR prescribes everything that is needed to allow several AUTOSAR Software



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                                                          EXHIBIT E
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         Claim 1                                           Accused Instrumentalities
selected from the group          Components to be integrated correctly in an infrastructure consisting of networked
consisting of FlexRay,           ECUs.”
Controller Area
Network, and Local        Autosar Document ID 067, “Technical Overview”, v.2.2.2, p. 10
Interconnect Network;
                              “The communication services are a group of modules for vehicle network communication
                              (CAN, LIN, FlexRay and MOST). They are interfacing with the communication drivers
                              via the communication hardware abstraction. The task of this group of modules is to
                              provide a uniform interface to the vehicle network for communication between different
                              applications {etc}….”

                          Autosar Document ID 067, “Technical Overview”, v.2.2.2, pp. 34-35

                          Within AUTOSAR, transmission and reception of information (e.g., messages) between software
                          layers requires a combination of the information to be transmitted (a “payload”) with source and
                          targeting information (“addresses”). In AUTOSAR these kinds of information are distinguished
                          by terms such as “Service Data Unit” (SDU), “Protocol Data Unit” (PDU), and “Protocol Control
                          Information” (PCI), as described and diagrammed below.




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                  Autosar Document ID 294, “Requirements on AUTOSAR Features”, v.4.4.0, p. 39




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                                                 EXHIBIT E
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Claim 1                                         Accused Instrumentalities




                  Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 92.




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Claim 1                                         Accused Instrumentalities




                  Autosar Document ID 055, “Glossary”, v.4.2.2, p. 75.

                  AUTOSAR specifies the potential for a system to interact with multiple network types commonly
                  found in automotive electronic control systems. These include but are not limited to CAN
                  (Controller Area Network), FlexRay, LIN (Local Interconnected Network), and Ethernet.




                  Autosar Document ID 294, “Requirements on AUTOSAR Features”, v.4.4.0, p. 8.




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Claim 1                                         Accused Instrumentalities




                  Autosar Document ID 294, “Requirements on AUTOSAR Features”, v.4.4.0, p. 39




                  Autosar Document ID 294, “Requirements on AUTOSAR Features”, v.4.4.0, p. 46




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                                               EXHIBIT E
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Claim 1                                         Accused Instrumentalities




                  Autosar Document ID 294, “Requirements on AUTOSAR Features”, v.4.4.0, p. 47.




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                                            EXHIBIT E
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Claim 1                                         Accused Instrumentalities




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Claim 1                                         Accused Instrumentalities




                  Autosar Document ID 294, “Requirements on AUTOSAR Features”, v.4.4.0, pp. 48-49




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                                                EXHIBIT E
                  U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES
Claim 1                                            Accused Instrumentalities
                  The following example traces a message path through AUTOSAR software layers to the level of
                  the Run Time Environment (RTE) for a message originating on a FlexRay network bus:
                  A message containing information arrives on a FlexRay network bus.
                  The FlexRay Driver function Fr_ReceiveRxLPdu is called by the FrIf:




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                                                 EXHIBIT E
                  U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES
Claim 1                                           Accused Instrumentalities
                  Autosar Document ID 027, “Specification of FlexRay Interface”, v.4.4.0, p. 113




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                                  EXHIBIT E
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                                                             EXHIBIT E
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        Claim 1                                             Accused Instrumentalities
                            Autosar Document ID 026, “Specification of FlexRay Driver”, v.4.4.0, pp. 50-51.

in response to the          Autosar requires that the electronic control unit be configured to issue a storage resource request
receipt of the              in connection with a storage resource and cause a determination as to whether a storage resource
information, issue a        is available.
storage resource request
in connection with a        In a FlexRay example, the disassembly and reassembly processes require buffer (memory) space
storage resource;           in which to operate; AUTOSAR contains functions which test the availability of such buffer
                            space:
determine whether the
storage resource is         The function PduR_FrArTpStartOfReception tests availability of adequate buffer
available for storing the   (memory/storage) space prior to starting the copy operation which will place data in the buffer:
information;




                            Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, p. 50

                            See generally buffer functions (CAN or FlexRay ProvideRXBuffer or ProvideTXBuffer
                            commands, etc.) in connection with a storage resource (e.g. RXBuffer or TXBuffer, etc.) and
                            determining whether the storage resource is available (e.g. based on a response to the
                            aforementioned command(s), etc.).




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                                                   EXHIBIT E
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Claim 1                                         Accused Instrumentalities
                       “4.2 Error types

                      Errors are divided into two simple classes: infrastructure errors and application errors.

                      Infrastructure errors are returned when the infrastructure between the sender and the
                      receiver, for sender-receiver communication, or between the client and the server, for
                      client-server communication, failed. A typical example of an infrastructure error is a
                      timeout. In case the client does not receive a response from the server within a certain
                      amount of time (because the communication channel between client and server is not
                      available or a message was lost) a “time-out” infrastructure error is returned to the client.
                      The possible infrastructure errors are standardized by AUTOSAR.

                      Application errors are application-specific and must be defined as part of the sender-
                      receiver interface, for sender-receiver communication, or client-server interface, for client-
                      server communication.”

                  AUTOSAR Document ID 056, “Virtual Functional Bus”, v4.4.0, p. 44

                       “Table 4.3: Communication Attributes for a Client”
                        TIMEOUT       Attribute “timeout” of     Time in seconds before the server
                                      ServerCallPoint            call times out and returns with an
                                                                 error message. How this
                                                                 infrastructure-error is reported
                                                                 depends on the call type
                                                                 (synchronous or asynchronous).
                  AUTOSAR Document ID 056, “Virtual Functional Bus”, v4.4.0, p. 57




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                                       EXHIBIT E
        U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES
        CAN Rx and Tx Buffer Handling
        PduR_CanTpStartOfReception, PduR_CanTpCopyRxData, and PduR_CanTpCopyTxData
        commands are issued in connection with a Rx Buffer or Tx Buffer. Further, it is determined
        whether the Rx Buffer or Tx Buffer is available or not, as evidenced by the
        BUFREQ_E_NOT_OK, BUFREQ_E_OVFL, or BUFREQ_E_BUSY responses which are
        necessarily conditioned on such determination.
               “5.1.6 PDU Router services
               The CAN Transport Layer uses callback functions of the PDU Router to copy transmit
               data and to confirm transmission, to initiate reception, copy received data and to
               indicate reception of a message:
               PduR_CanTpRxIndication
               PduR_CanTpStartOfReception
               PduR_CanTpCopyRxData
               PduR_CanTpCopyTxData
               PduR_CanTpTxConfirmation
               For more information about these functions, refer to the PDU Router module
               specification [10].”
        AUTOSAR Document ID 014, “AUTOSAR Specification of CAN Transport Layer”, v4.4.0, p. 19

        CAN Buffer Handling When Receiving Information
             “[SWS_CanTp_00080] ⌈The available Rx buffer size is reported to the CanTp in the
             output pointer parameter of the PduR_CanTpStartOfReception() service. The available
             Rx buffer can be smaller than the expected N-SDU data length. ⌋ ()
             Note: If the upper layer cannot make a buffer available because of an error (e.g. in the
             gateway case it may indicate that the transport session to the destination network has
             been broken) or a resource limitation (e.g. N-SDU length exceeds the maximum buffer
             size of the upper layer), the PduR_CanTpStartOfReception() function returns
             BUFREQ_E_NOT_OK or BUFREQ_E_OVFL.”


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                                                  EXHIBIT E
                  U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES
Claim 1                                               Accused Instrumentalities
                         “[SWS_CanTp_00082] ⌈After the reception of a First Frame, if the function
                         PduR_CanTpStartOfReception() returns BUFREQ_OK with a smaller available buffer
                         size than needed for the next block, the CanTp module shall start the timer N_Br.⌋ ( )”
                         “[SWS_CanTp_00222] ⌈ While the timer N_Br is active, the CanTp module shall call
                         the service PduR_CanTpCopyRxData() with a data length 0 (zero) and NULL_PTR as
                         data buffer during each processing of the MainFunction. ⌋ ( )
                         Note: ISO 15765-2 specification defines the following performance requirement:
                         (N_Br + N_Ar) < 0.9 * N_Bs timeout.”
                         “[SWS_CanTp_00341]⌈If the N_Br timer expires and the available buffer size is still
                         not big enough, the CanTp module shall send a new FC(WAIT) to suspend the N-SDU
                         reception and reload the N_Br timer.⌋()”
                         “[SWS_CanTp_00223] ⌈The CanTp module shall send a maximum of WFTmax
                         consecutive FC(WAIT) N-PDU. If this number is reached, the CanTp module shall
                         abort the reception of this N-SDU (the receiver did not send any FC N-PDU, so the
                         N_Bs timer expires on the sender side and then the transmission is aborted) and a
                         receiving indication with E_NOT_OK occurs. ⌋ ( )”
                  AUTOSAR Document ID 014, “AUTOSAR Specification of CAN Transport Layer”, v4.4.0, pp.
                  29-30

                  CAN Buffer Handling When Transmitting Information
                       “[SWS_CanTp_00272] ⌈The API PduR_CanTpCopyTxData() contains a parameter
                       used for the recovery mechanism – ‘retry’. Because ISO 15765-2 does not support
                       such a mechanism, the CAN Transport Layer does not implement any kind of
                       recovery. Thus, the parameter is always set to NULL pointer. ⌋ ( )”
                  AUTOSAR Document ID 014, “AUTOSAR Specification of CAN Transport Layer”, v4.4.0, p. 32




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                         “[SWS_CanTp_00087] ⌈If PduR_CanTpCopyTxData() returns
                         BUFREQ_E_NOT_OK, the CanTp module shall abort the transmit request and notify
                         the upper layer of this failure by calling the callback function
                         PduR_CanTpTxConfirmation() with the result E_NOT_OK. ⌋ ( )
                         Note: If upper layer temporarily has no Tx buffer available, the
                         PduR_CanTpCopyTxData() function returns BUFREQ_E_BUSY.”

                       “[SWS_CanTp_00184] ⌈If the PduR_CanTpCopyTxData() function returns
                       BUFREQ_E_BUSY, the CanTp module shall later (implementation specific) retry to
                       copy the data. ⌋ ( )
                       Note: If no data is available before the expiration of the N_Cs timer (ISO 15765-2
                       specification defines the following performance requirement: (N_Cs+N_As) <
                       0.9*N_Cr timeout), the CanTp module shall abort this transmission session.”
                       “[SWS_CanTp_00280] ⌈If data is not available within N_Cs timeout the CanTp
                       module shall notify the upper layer of this failure by calling the callback function
                       PduR_CanTpTxConfirmation with the result E_NOT_OK. ⌋ ( )”
                  AUTOSAR Document ID 014, “AUTOSAR Specification of CAN Transport Layer”, v4.4.0, p. 33

                       “[SWS_CanTp_00272] ⌈The API PduR_CanTpCopyTxData() contains a parameter
                       used for the recovery mechanism – ‘retry’. Because ISO 15765-2 does not support such
                       a mechanism, the CAN Transport Layer does not implement any kind of recovery.
                       Thus, the parameter is always set to NULL pointer. ⌋ ()”
                  AUTOSAR Document ID 014, “AUTOSAR Specification of CAN Transport Layer”, v4.4.0, p. 32

                  FlexRay Rx and Tx Buffer Handling
                  PduR_FrArTpProvideRxBuffer, PduR_FrArTpCopyRxData, and PduR_FrArTpCopyTxData
                  commands are issued in connection with a Rx Buffer or Tx Buffer. Further, it is determined


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                  whether the Rx Buffer or Tx Buffer is available or not, as evidenced by the
                  BUFREQ_E_NOT_OK, BUFREQ_E_OVFL, or BUFREQ_E_BUSY responses which are
                  necessarily conditioned on such determination.
                         “5.1 PDU Router
                         The following services of the PDU Router are called by the FlexRay AUTOSAR
                         Transport Layer module:
                         PduR_FrArTpStartOfReception By this API service, the FlexRay AUTOSAR
                         Transport Layer module informs the upper layer (e.g. DCM via PDU Router) that a
                         new message is being received.
                         PduR_FrArTpCopyRxData By this API service, the FlexRay AUTOSAR Transport
                         Layer module provides the data of one received segmented message part (N-PDU) to
                         the upper layer.
                         PduR_FrArTpRxIndication By this API service, the FlexRay AUTOSAR Transport
                         Layer module indicates the completed (un)successful reception of a message (N-SDU).
                         PduR_FrArTpCopyTxData By this API service, the FlexRay AUTOSAR Transport
                         Layer module asks the upper layer (e.g. DCM via PDU Router) of the message to
                         provide data for the next segmented message part (N-PDU).
                         PduR_FrArTpTxConfirmation By this API service, the FlexRay AUTOSAR Transport
                         Layer module confirms the (un)successful sending of the complete message (N-SDU)
                         to the actual sender (e.g. DCM).
                         The following services of the FlexRay AUTOSAR Transport Layer module are called
                         by the PDU Router:
                         FrArTp_Transmit By this API service, the sending of a message (N-SDU) is triggered.
                         FrArTp_CancelTransmit By this API service, the sending of a message (N-SDU) is
                         cancelled. This service is optional (per channel).
                         FrArTp_CancelReceive By this API service, the receiving of a message (N-SDU) is
                         cancelled. This service is optional (per channel).


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                         FrArTp_ChangeParameter By this API service, the STmin and BS values of a
                         connection can be changed.”
                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, pp.
                  15-16

                  FlexRay Buffer Handling When Transmitting Information
                         “[SWS_FrArTp_00106] ⌈At the sender side, this principle works as follows:
                         1. The PDU Router calls the service FrArTp_Transmit.
                         2. The FrArTp shall call PduR_FrArTpCopyTxData in order to get all the data bytes of
                         the SF-x. retry.TpDataState shall be set to TP_CONFPENDING when Retry is
                         enabled.⌋()”
                         “[SWS_FrArTp_00107] ⌈If PduR_FrArTpCopyTxData for the SF-x returns
                         BUFREQ_E_BUSY, the call shall be repeated until FrArTpTimeCs expires. When the
                         return value is BUFREQ_E_NOT_OK or after FrArTpTimeCs expired, the transfer
                         shall be aborted by calling PduR_FrArTpTxConfirmation with E_NOT_OK.⌋()”
                         “[SWS_FrArTp_00233] ⌈If Retry is enabled, the SF-x shall be sent again after
                         reception of a negative AF. The FrArTp shall finish the transfer after reception of a
                         positive AF by the call to PduR_FrArTpTxConfirmation with E_OK.⌋()”
                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, p. 48

                  FlexRay Buffer Handling When Receiving Information
                        “[SWS_FrArTp_00108] ⌈At the receiver side, the principle works as follows:
                        1. FrIf calls the service FrArTp_RxIndication.
                        2. The FrArTp shall call PduR_FrArTpStartOfReception to prepare reception.
                        3. The FrArTp shall call PduR_FrArTpCopyRxData to forward SF data.⌋()”




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                         “[SWS_FrArTp_00298] ⌈If PduR_FrArTpStartOfReception for the SF-x returns
                         BUFREQ_E_NOT_OK or BUFREQ_E_OVFL, the transfer shall be aborted
                         immediately without calling PduR_FrArTpRxIndication. ⌋()”
                         “[SWS_FrArTp_00289] ⌈If the available buffer reported by
                         PduR_FrArTpStartOfReception is too small for the SF-x, or if
                         PduR_FrArTpCopyRxData for the SF-x returns BUFREQ_E_NOT_OK, the FrArTp
                         shall abort the transfer and call PduR_FrArTpRxIndication with E_NOT_OK. ⌋()”
                         “[SWS_FrArTp_00253] ⌈If acknowledgement is configured: In case of failing to copy
                         the received data (either BUFREQ_E_NOT_OK or BUFREQ_E_OVFL was returned,
                         or the available buffer is too small), an AF with a negative acknowledgement and FS =
                         OVFLW is sent back to the sender.⌋()”
                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, pp.
                  48-49

                  LIN Buffer Handling
                  LIN Buffer Handling When Transmitting Information
                        7.6.3.3 LIN TP transmission
                        Since all frames must follow the schedule table, also LIN TP message must do this. All
                        LIN TP messages are using the MRF and SRF for transportation.
                        [SWS_LinIf_00671] ⌈After a transmission request from the upper layer, the LIN Interface
                        shall call the function PduR_LinTpCopyTxData with the PduInfo pointer containing data
                        buffer (SduDataPtr) and data length (SduLength) for each segment that is sent. The data
                        length is 5 bytes (including SID) for FF, up to 6 bytes for SF and 6 bytes for CF (or less in
                        case of the last CF). ⌋ ()
                        The upper layer copies the transmit data to the PduInfo.
                        [SWS_LinIf_00329] ⌈If the function PduR_LinTpCopyTxData returns
                        BUFREQ_E_BUSY, the LIN Interface shall not send the next MRF. ⌋ ()


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                         [SWS_LinIf_00330] ⌈If the function PduR_LinTpCopyTxData returns
                         BUFREQ_E_BUSY, the LIN Interface shall retry to copy the data via the function
                         PduR_LinTpCopyTxData again during the next processing of the MainFunction until the
                         transmit data is provided. For the number of retries, refer to the configuration parameter
                         LinTpMaxBufReq. ⌋ ()
                  Autosar Document ID 073, “AUTOSAR Specification of LIN Interface”, v4.4.0, pp. 62-63

                  LIN Buffer Handling When Receiving Information
                         7.6.3.5 LIN TP reception
                         The LIN Interface shall be prepared to receive a TP message anytime. The LIN slave will
                         transport the TP message in a SRF to the LIN master (LIN Interface). The first SRF in the
                         TP message will always be a FF or a SF.
                         Since the LIN Interface does not know when a slave is starting the response to a TP
                         message, it must have the possibility to store part of the TP message.
                         [SWS_LinIf_00075] ⌈The LIN Interface shall call the function
                         PduR_LinTpStartOfReception with a PduInfo pointer and TpSduLength when the start of
                         a SRF is indicated by the reception of a FF or a SF. PduInfo is pointer to the buffer
                         containing the received data (SduDataPtr) and data length (SduLength). The data length
                         (including SID) is 5 bytes for FF and up to 6 bytes for SF. TpSduLength is the total length
                         of the Sdu. ⌋ ()
                         The output pointer parameter provides the LIN Interface with currently available receive
                         buffer size.
                  Autosar Document ID 073, “AUTOSAR Specification of LIN Interface”, v4.2.2, pp. 65-66

                         “7.6.3.6 Unavailability of receive buffers
                         The function PduR_LinTpStartOfReception and PduR_LinTpCopyRxData may indicate
                         that the required buffer is not available.


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                                The LIN Interface handles this case differently.
                                [SWS_LinIf_00676] ⌈If the function PduR_LinTpStartOfReception returns
                                BUFREQ_E_NOT_OK or BUFREQ_E_OVFL, the LIN Interface shall abort the
                                reception without any further calls to PduR. ⌋ ()
                                [SWS_LinIf_00701] ⌈If the function PduR_LinTpStartOfReception returns BUFREQ_OK
                                with a smaller available buffer size than needed for the data received in the first SRF (SF
                                or FF), the LIN Interface shall abort the reception and notify the upper layer by calling the
                                function PduR_LinTpRxIndication with result E_NOT_OK. ⌋ ()
                                [SWS_LinIf_00677] ⌈If the function PduR_LinTpCopyRxData returns
                                BUFREQ_E_NOT_OK, the LIN Interface shall abort the reception and notify the upper
                                layer by calling the function PduR_LinTpRxIndication with the result E_NOT_OK and
                                request a schedule table change to the applicative schedule by calling the function
                                BswM_LinTp_RequestMode with the parameter LINTP_APPLICATIVE_SCHEDULE
                                (see SWS_LinIf_00646). ⌋ ()
                                [SWS_LinIf_00679] ⌈If the function PduR_LinTpCopyRxData returns BUFREQ_OK
                                with a smaller available buffer size than needed for the next CF, the LIN Interface shall
                                suspend the transmission of LIN headers for next SRF (CF) ⌋ ()
                                [SWS_LinIf_00086] ⌈In case of SWS_LinIf_00679, the LIN Interface shall call the
                                function PduR_LinTpCopyRxData with a data length (SduLength) 0 (zero) again during
                                the next processing of the MainFunction until the available buffer size is big enough. ⌋ ()
                                [SWS_LinIf_00680] ⌈In case of SWS_LinIf_00086, when the buffer of sufficient size is
                                available, the LIN Interface shall copy the received data via the function
                                PduR_LinTpCopyRxData and resume the transmission of LIN headers for SRF (CF). ⌋ ()
                         Autosar Document ID 073, “AUTOSAR Specification of LIN Interface”, v4.4.0, pp. 66-67

determine whether a      Autosar requires code for causing a determination as to whether a threshold has been reached in
threshold has been       association with the storage resource request.


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reached in association
with the storage         Autosar compliance requires a determination as to whether a timeout has been reached (e.g. via
resource request;        expiration of N_Br or N_Cs timer in CAN or “FRTP_MAX_BUFREQ” retries in FLEXRAY,
                         etc.) in association with the storage resource request (e.g. CAN or FlexRay ProvideRXBuffer or
                         ProvideTXBuffer commands, etc.).

                         Managers monitor signal timeouts:




                         Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 47




                         Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 55

                         In the FlexRay Network example, above, see:




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                  Autosar Document ID 294, “Requirements on AUTOSAR Features”, v.4.4.0, p. 41




                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, p. 50




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                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.2.2, pp.
                  81-82




                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, p. 83



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                  In addition, more generally, see the following:

                  CAN Threshold Determinations
                  Timeout determinations are made in connection with the N_Br or N_Cs timer in CAN, for
                  receiving and transmitting, respectively.

                  Timeout Determination when Receiving In CAN
                        “[SWS_CanTp_00082] ⌈After the reception of a First Frame, if the function
                        PduR_CanTpStartOfReception() returns BUFREQ_OK with a smaller available buffer
                        size than needed for the next block, the CanTp module shall start the timer N_Br.⌋ ( )”

                         “[SWS_CanTp_00222] ⌈ While the timer N_Br is active, the CanTp module shall call
                         the service PduR_CanTpCopyRxData() with a data length 0 (zero) and NULL_PTR as
                         data buffer during each processing of the MainFunction. ⌋ ( )

                         Note: ISO 15765-2 specification defines the following performance requirement:
                         (N_Br + N_Ar) < 0.9 * N_Bs timeout.”

                         “[SWS_CanTp_00341]⌈If the N_Br timer expires and the available buffer size is still
                         not big enough, the CanTp module shall send a new FC(WAIT) to suspend the N-SDU
                         reception and reload the N_Br timer.⌋()”

                  AUTOSAR Document ID 014, “AUTOSAR Specification of CAN Transport Layer”, v.4.4.0, pp.
                  29-30

                  Timeout Determination when Transmitting In CAN
                        “[SWS_CanTp_00086] ⌈The CanTp module shall call the PduR_CanTpCopyTxData



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                         service for each segment that is sent (SF, FF and CF). The upper layer copy the
                         transmit data on the PduInfoType structure. ⌋ (SRS_Can_01079)”

                         “[SWS_CanTp_00272] ⌈The API PduR_CanTpCopyTxData() contains a parameter
                         used for the recovery mechanism – ‘retry’. Because ISO 15765-2 does not support such
                         a mechanism, the CAN Transport Layer does not imple ment any kind of recovery.
                         Thus, the parameter is always set to NULL pointer. ⌋ ( )”

                         “[SWS_CanTp_00087] ⌈If PduR_CanTpCopyTxData() returns
                         BUFREQ_E_NOT_OK, the CanTp module shall abort the transmit request and notify
                         the upper layer of this failure by calling the callback function
                         PduR_CanTpTxConfirmation() with the result E_NOT_OK. ⌋ ( )

                         Note: If upper layer temporarily has no Tx buffer available, the
                         PduR_CanTpCopyTxData() function returns BUFREQ_E_BUSY.”

                         “[SWS_CanTp_00184] ⌈If the PduR_CanTpCopyTxData() function returns
                         BUFREQ_E_BUSY, the CanTp module shall later (implementation specific) retry to
                         copy the data. ⌋ ( )

                         Note: If no data is available before the expiration of the N_Cs timer (ISO 15765-2
                         specification defines the following performance requirement: (N_Cs+N_As) <
                         0.9*N_Cr timeout), the CanTp module shall abort this transmission session.”

                         “[SWS_CanTp_00280] ⌈If data is not available within N_Cs timeout the CanTp
                         module shall notify the upper layer of this failure by calling the callback function
                         PduR_CanTpTxConfirmation with the result E_NOT_OK. ⌋ ( )”

                  AUTOSAR Document ID 014, “AUTOSAR Specification of CAN Transport Layer”, v.4.4.0, pp.
                  32-33


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                  FlexRay Threshold Determinations
                  Timeout determinations are made in connection with the FrArTpTimeBr or FrArTpTimeCs timer
                  in FlexRay, for receiving and transmitting, respectively.


                  Threshold Determination when Transmitting In FlexRay

                         “[SWS_FrArTp_00234] ⌈When Retry is enabled, after reception of a negative AF, the
                         last block must be retransmitted. To achieve this, the data for the first CF of the block
                         is acquired with retry.TpDataState set to TP_DATARETRY while retry.TxTpDataCnt
                         contains the size of the previously sent block in bytes. The buffer of the last block in
                         the upper layer is only freed after reception of a positive AF by the call to
                         PduR_FrArTpTxConfirmation with E_OK .⌋()”

                         “[SWS_FrArTp_00296] ⌈If PduR_FrArTpCopyTxData for the FF-x (Retry not
                         configured) or any of the CFs returns BUFREQ_E_BUSY, the call shall be repeated
                         until FrArTpTimeCs expires.⌋()”

                         “[SWS_FrArTp_00293] ⌈If PduR_FrArTpCopyTxData returns BUFREQ_E_NOT_OK
                         or when FrArTpTimeCs expired, the transfer shall be aborted by calling
                         PduR_FrArTpTxConfirmation with E_NOT_OK.⌋()”

                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, p. 49

                  Timeout Determination when Receiving In FlexRay
                        “[SWS_FrArTp_00297] ⌈If PduR_FrArTpCopyRxData for the FF-x (Retry not
                        enabled) or for the last CF of a block (independent of Retry configuration) returns an
                        available buffer size that is not large enough for the next block,


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                         PduR_FrArTpCopyRxData shall be called repeatedly with info.SduLength equal to 0
                         until the available buffer is large enough. The calls shall be repeated until
                         FrArTpTimeBr expires.⌋()”

                         “[SWS_FrArTp_00301] ⌈When FrArTpTimeBr expires during calls to
                         PduR_FrArTpCopyRxData with info.SduLength equal to 0, a WAIT frame (FC frame
                         with FS = WT) shall be sent, and the retry phase shall start again, but at most
                         FrArTpMaxWft times.⌋()”

                         “[SWS_FrArTp_00295] ⌈If PduR_FrArTpCopyRxData returns
                         BUFREQ_E_NOT_OK, or when FrArTpMaxWft expired, the transfer shall be aborted
                         and PduR_FrArTpRxIndication shall be called with E_NOT_OK.⌋()”

                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, p. 50

                  LIN Threshold Determinations
                        [SWS_LinIf_00660] ⌈The LIN Interface shall provide the N_Cs timeout observation
                        (configuration parameter LinTpNcs) in order to switch a schedule table from diagnostic
                        schedule to applicative schedule in case the transmission for MRF is not successful. (LIN
                        2.1 specification defines the following requirement: (N_Cs+N_As) < 0.9*N_Cr timeout) ⌋
                        ()
                        [SWS_LinIf_00661] ⌈The LIN Interface shall start the N_Cs timer after receiving LIN
                        driver status as LIN_TX_OK for MRF (FF or CF except last CF) by calling the function
                        Lin_GetStatus and stop after invocation of the function Lin_SendFrame for MRF (next
                        CF). ⌋ ()
                        [SWS_LinIf_00662] ⌈In case of N_Cs timeout occurrence the LIN Interface shall abort
                        the transmission and notify the upper layer by calling the function
                        PduR_LinTpTxConfirmation with the result E_NOT_OK and request a schedule table


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                         change to the applicative schedule by calling the function BswM_LinTp_RequestMode
                         with the parameter LINTP_APPLICATIVE_SCHEDULE (see SWS_LinIf_00646). ⌋ ()
                  Autosar Document ID 073, “AUTOSAR Specification of LIN Interface”, v.4.4.0, p. 64

                        [SWS_LinIf_00665] ⌈The LIN Interface shall start the N_Cr timer after receiving LIN
                        driver status as LIN_RX_OK for SRF (FF or CF except last CF) by calling the function
                        Lin_GetStatus and stop after receiving LIN driver status as LIN_RX_OK for SRF (next
                        CF) by calling the function Lin_GetStatus. ⌋ ()
                        [SWS_LinIf_00666] ⌈In case of N_Cr timeout occurrence the LIN Interface shall abort the
                        reception and notify the upper layer by calling the function PduR_LinTpRxIndication with
                        the result E_NOT_OK and request a schedule table change to the applicative schedule by
                        calling the function BswM_LinTp_RequestMode with the parameter
                        LINTP_APPLICATIVE_SCHEDULE (see SWS_LinIf_00646). ⌋ ()
                        [SWS_LinIf_00617] ⌈The LIN Interface shall provide the P2 timeout observation
                        (configuration parameter LinTpP2Timing) in order to switch a schedule table from
                        diagnostic schedule to applicative schedule in case the reception for SRF is not successful.
                        ⌋ ()
                        [SWS_LinIf_00618] ⌈The LIN Interface shall start the P2 timer after invocation of the
                        function Lin_SendFrame for last MRF (SF or CF) and stop after receiving LIN driver
                        status as LIN_RX_OK for SRF (SF or FF) by calling the function Lin_GetStatus. Note
                        that the P2 timeout monitoring shall be started only in LIN TP diagnostic mode. ⌋ ()
                        [SWS_LinIf_00619] ⌈In case of P2 timeout occurrence the LIN Interface shall abort the
                        reception and notify the upper layer by calling the function PduR_LinTpRxIndication with
                        the result E_NOT_OK and request a schedule table change to the applicative schedule by
                        calling the function BswM_LinTp_RequestMode with the parameter
                        LINTP_APPLICATIVE_SCHEDULE (see SWS_LinIf_00646). ⌋ ()



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                                                            EXHIBIT E
                            U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES
        Claim 1                                                 Accused Instrumentalities
                                   [SWS_LinIf_00621] ⌈The LIN Interface shall provide UDS Response Pending handling.
                                   Therefore:
                                   1. TP response PDUs containing an UDS response pending service are received and
                                   forwarded to the PDU Router as any other response PDUs.
                                   2. After reception of a response pending frame the P2 timeout timer is reloaded with the
                                   timeout time P2*max (configuration parameter LinTpP2Max). ⌋ ()

                                   [SWS_LinIf_00623] ⌈If more UDS response pending frames have been received than
                                   allowed (configuration parameter LinTpMaxNumberOfRespPendingFrames), the LIN
                                   Interface shall abort the reception and notify the upper layer by calling the function
                                   PduR_LinTpRxIndication with the result E_NOT_OK and request a schedule table change
                                   to the applicative schedule by calling the function BswM_LinTp_RequestMode with the
                                   parameter LINTP_APPLICATIVE_SCHEDULE (see SWS_LinIf_00646). ⌋ ()
                            Autosar Document ID 073, “AUTOSAR Specification of LIN Interface”, v4.4.0, pp. 69-70

in the event the storage    In the event the storage resource is not available, the Autosar requires determining whether a
resource is not available   timeout has been reached, and then issues another storage resource request in connection with the
and the threshold           storage resource if the timeout has not been reached.
associated with the
storage resource request    See Generally:
has not been reached,
issue another storage       Repeating Resource Requests in CAN
resource request in         In the event the Rx Buffer or Tx Buffer is not available before expiration of N_Br or N_Cs timer
connection with the         in CAN, PduR_CanTpCopyRxData and PduR_CanTpCopyTxData commands are repeatedly sent
storage resource;           while the timers have not expired.

                                   “[SWS_CanTp_00082] ⌈After the reception of a First Frame, if the function


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                                                  EXHIBIT E
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Claim 1                                              Accused Instrumentalities
                         PduR_CanTpStartOfReception() returns BUFREQ_OK with a smaller available buffer
                         size than needed for the next block, the CanTp module shall start the timer N_Br.⌋ ( )”

                         “[SWS_CanTp_00222] ⌈ While the timer N_Br is active, the CanTp module shall call
                         the service PduR_CanTpCopyRxData() with a data length 0 (zero) and NULL_PTR as
                         data buffer during each processing of the MainFunction. ⌋ ( )

                         Note: ISO 15765-2 specification defines the following performance requirement:
                         (N_Br + N_Ar) < 0.9 * N_Bs timeout.”

                  AUTOSAR Document ID 014, “AUTOSAR Specification of CAN Transport Layer”, v4.4.0, pp.
                  29-30

                         “[SWS_CanTp_00087] ⌈If PduR_CanTpCopyTxData() returns
                         BUFREQ_E_NOT_OK, the CanTp module shall abort the transmit request and notify
                         the upper layer of this failure by calling the callback function
                         PduR_CanTpTxConfirmation() with the result E_NOT_OK. ⌋ ( )

                         Note: If upper layer temporarily has no Tx buffer available, the
                         PduR_CanTpCopyTxData() function returns BUFREQ_E_BUSY.”

                         “[SWS_CanTp_00184] ⌈If the PduR_CanTpCopyTxData() function returns
                         BUFREQ_E_BUSY, the CanTp module shall later (implementation specific) retry to
                         copy the data. ⌋ ( )

                         Note: If no data is available before the expiration of the N_Cs timer (ISO 15765-2
                         specification defines the following performance requirement: (N_Cs+N_As) <
                         0.9*N_Cr timeout), the CanTp module shall abort this transmission session.”

                         “[SWS_CanTp_00089] ⌈When Tx data is available, the CanTp module shall resume the


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                                                  EXHIBIT E
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Claim 1                                            Accused Instrumentalities
                         transmission of the N-SDU. ⌋ ( )”

                  AUTOSAR Document ID 014, “AUTOSAR Specification of CAN Transport Layer”, v4.4.0, p. 33

                  Repeating Resource Requests in FlexRay
                  In the event the Rx Buffer or Tx Buffer is not available before expiration of FrArTpTimeBr or
                  FrArTpTimeCs timers in FlexRay, PduR_FrArTpCopyRxData and PduR_FrArTpCopyTxData
                  commands are repeatedly sent while the timers have not expired.

                         “[SWS_FrArTp_00234] ⌈When Retry is enabled, after reception of a negative AF, the
                         last block must be retransmitted. To achieve this, the data for the first CF of the block
                         is acquired with retry.TpDataState set to TP_DATARETRY while retry.TxTpDataCnt
                         contains the size of the previously sent block in bytes. The buffer of the last block in
                         the upper layer is only freed after reception of a positive AF by the call to
                         PduR_FrArTpTxConfirmation with E_OK .⌋()”

                         “[SWS_FrArTp_00296] ⌈If PduR_FrArTpCopyTxData for the FF-x (Retry not
                         configured) or any of the CFs returns BUFREQ_E_BUSY, the call shall be repeated
                         until FrArTpTimeCs expires.⌋()”

                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, p. 49

                         “[SWS_FrArTp_00297] ⌈If PduR_FrArTpCopyRxData for the FF-x (Retry not
                         enabled) or for the last CF of a block (independent of Retry configuration) returns an
                         available buffer size that is not large enough for the next block,
                         PduR_FrArTpCopyRxData shall be called repeatedly with info.SduLength equal to 0
                         until the available buffer is large enough. The calls shall be repeated until




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                                                  EXHIBIT E
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Claim 1                                            Accused Instrumentalities
                         FrArTpTimeBr expires.⌋()”

                         “[SWS_FrArTp_00301] ⌈When FrArTpTimeBr expires during calls to
                         PduR_FrArTpCopyRxData with info.SduLength equal to 0, a WAIT frame (FC frame
                         with FS = WT) shall be sent, and the retry phase shall start again, but at most
                         FrArTpMaxWft times.⌋()”

                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, p. 50

                  Repeating Resource Requests in LIN
                         [SWS_LinIf_00330] ⌈If the function PduR_LinTpCopyTxData returns
                         BUFREQ_E_BUSY, the LIN Interface shall retry to copy the data via the function
                         PduR_LinTpCopyTxData again during the next processing of the MainFunction until the
                         transmit data is provided. For the number of retries, refer to the configuration parameter
                         LinTpMaxBufReq. ⌋ ()
                  Autosar Document ID 073, “AUTOSAR Specification of LIN Interface”, v.4.4.0, p. 63

                         [SWS_LinIf_00679] ⌈If the function PduR_LinTpCopyRxData returns BUFREQ_OK
                         with a smaller available buffer size than needed for the next CF, the LIN Interface shall
                         suspend the transmission of LIN headers for next SRF (CF) ⌋ ()
                         [SWS_LinIf_00086] ⌈In case of SWS_LinIf_00679, the LIN Interface shall call the
                         function PduR_LinTpCopyRxData with a data length (SduLength) 0 (zero) again during
                         the next processing of the MainFunction until the available buffer size is big enough. ⌋ ()
                         [SWS_LinIf_00680] ⌈In case of SWS_LinIf_00086, when the buffer of sufficient size is
                         available, the LIN Interface shall copy the received data via the function
                         PduR_LinTpCopyRxData and resume the transmission of LIN headers for SRF (CF). ⌋ ()
                  Autosar Document ID 073, “AUTOSAR Specification of LIN Interface”, v.4.4.0, p. 67



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                                                        EXHIBIT E
                         U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES
         Claim 1                                        Accused Instrumentalities
in the event the storage The Autosar-compliant ECUs cause storage of the information using the storage resource when
resource is available,   the resource is available.
store the information in
the storage resource; and In the FlexRay Network example, above, see:




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Claim 1                                           Accused Instrumentalities
                  Autosar Document ID 035, “Specification of PDU Router”, v4.4.0, p. 64-65

                  More generally, see:
                  Resource Utilization In CAN

                        “7.3.3 Buffer strategy
                        Because CanTp has no buffering capability, the N-SDU payload, which is to be
                        transmitted, is not copied internally and the N-PDU received is not reassembled
                        internally.
                        The CAN Transport Layer works directly on the memory area of the upper layers (e.g.
                        PduR, DCM, or COM). To access these memory areas, the CAN Transport Layer uses
                        the PduR_CanTpCopyTxData() or PduR_CanTpCopyRxData() functions.
                        Thus, to guarantee data consistency, the upper layer should lock this memory area until
                        an indication occurs.
                        When a transmit buffer is locked, the upper layer must not write data inside the buffer
                        area.
                        When a receiving buffer is locked the CAN Transport Layer does not guarantee data
                        consistency of the buffer. The upper layer should neither read nor write data in the
                        buffer area.




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Claim 1                                              Accused Instrumentalities
                         It is assumed that upper layer module has locked the buffer when it returns a status
                         BUFREQ_OK to a PduR_CanTpStartOfReception() call or when CanTp_Transmit()
                         returns E_OK and shall keep the buffer locked until a confirmation or indication
                         (PduR_CanTpTxConfirmation() or PduR_CanTpRxIndication() call) occurs.”
                  AUTOSAR Document ID 014, “AUTOSAR Specification of CAN Transport Layer”, v.4.4.0, pp.
                  34-35

                  Resource Utilization In FlexRay

                         “5.2 FlexRay Interface
                         The following services of the FlexRay Interface are called by the FlexRay AUTOSAR
                         Transport Layer module:
                         FrIf_Transmit By this API service, the sending of a frame (N-PDU) is triggered.
                         Depending on configuration on the FlexRay Interface, the N-PDU is sent immediately
                         or after the call of FrArTp_TriggerTransmit.
                         The following services of the FlexRay AUTOSAR Transport Layer module are called
                         by the FlexRay Interface:
                         FrArTp_RxIndication By this API service, the FlexRay Interface indicates the
                         reception of an FrArTp frame (N-PDU, please do not mistake this with a FlexRay
                         frame) to the FrArTp. The FrArTp then processes this frame.
                         FrArTp_TxConfirmation By this API service, the FlexRay Interface confirms the
                         sending of the frame containing the N-PDU over the FlexRay network.
                         FrArTp_TriggerTransmit By this API service, the FlexRay Interface makes the FrArTp
                         to copy the N-PDU into the buffer provided by the FlexRay Interface. The FlexRay
                         interface then can start sending the FlexRay frame containing the N-PDU.”
                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, pp.
                  16-17


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Claim 1                                         Accused Instrumentalities

                  Resource Utilization In LIN

                         [SWS_LinIf_00671] ⌈After a transmission request from the upper layer, the LIN Interface
                         shall call the function PduR_LinTpCopyTxData with the PduInfo pointer containing data
                         buffer (SduDataPtr) and data length (SduLength) for each segment that is sent. The data
                         length is 5 bytes (including SID) for FF, up to 6 bytes for SF and 6 bytes for CF (or less in
                         case of the last CF). ⌋ ()
                  Autosar Document ID 073, “AUTOSAR Specification of LIN Interface”, v.4.4.0, p. 62

                         [SWS_LinIf_00068] ⌈When the LIN Interface has transmitted the last MRF (SF or CF)
                         successfully, it shall notify the upper layer by calling the function
                         PduR_LinTpTxConfirmation with the result E_OK. ⌋ ()

                  Autosar Document ID 073, “AUTOSAR Specification of LIN Interface”, v4.4.0, p. 63

                         [SWS_LinIf_00674] ⌈ After reception of each SRF (SF, FF and CF), the LIN Interface
                         shall call the function PduR_LinTpCopyRxData with a PduInfo pointer containing
                         received data (SduDataPtr) and data length (SduLength). The data length is 5 bytes
                         (including SID) for FF, up to 6 bytes for SF and 6 bytes for CF (or less in case of the last
                         CF). ⌋ ()
                         The output pointer parameter provides the LIN Interface with available receive buffer size
                         after data have been copied.
                         [SWS_LinIf_00078] ⌈When the LIN Interface has received the last SRF (SF or CF)
                         successfully, it shall notify the upper layer by calling the function
                         PduR_LinTpRxIndication with the result E_OK. ⌋ ()
                  Autosar Document ID 073, “AUTOSAR Specification of LIN Interface”, v4.4.0, p. 66


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                                                            EXHIBIT E
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        Claim 1                                           Accused Instrumentalities

share the stored            Autosar requires that vehicle systems cause information (e.g., an SDU) to be shared with at least
information with at least   one of a plurality of heterogeneous processes including at least one process associated with a
one of a plurality of       second physical network protocol (e.g., FlexRay protocol) associated with a second network
heterogeneous processes     which is different from the first physical network protocol (e.g., CAN protocol)
including at least one
process associated with     A heterogeneous network is defined in the specification as, “One embodiment provides a new
a second physical           mechanism for creating an information interconnection between two or more heterogeneous
                            communication networks. In the context of the present description, heterogeneous networks may
network selected from
                            refer to any different communication networks with at least one aspect that is different.” ‘477
the group consisting of     Patent, col. 6, ll. 62-67.
FlexRay, Controller
Area Network, and           AUTOSAR utilizes many different network protocols. FlexRay Network, Controller Area
Local Interconnect          Network, and Local Interconnection Network are all networks with different protocols that could
Network, utilizing a        be on the first network and the second network, possibly changing from one to another.
network protocol
                            As shown below, the system is capable of having gateways between, e.g., CAN and FlexRay
different from a protocol
                            networks, thus constituting a heterogeneous network.
of the first physical
network;




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                  Autosar Document ID 035, “Specification of PDU Router”, v4.4.0, p. 82




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                  Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 92




                  Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 19




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                                                            EXHIBIT E
                            U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES
         Claim 1                                               Accused Instrumentalities
interfaces for              Autosar requires interfaces for communication with each of FlexRay, Controller Area Network,
communication with          and Local Interconnect Network networks.
each of FlexRay,
Controller Area             Autosar is inherently designed to interact with sensors, actuators and/or gateways, and thus each
Network, and Local          physical network is inherently in communication with a component including at least one of a
Interconnect Network        sensor, an actuator, or a gateway.
networks, with each
physical network in                “AUTOSAR is dedicated for Automotive ECUs. Such ECUs have the following
communication with a               properties:
component including at
least one of a sensor, an                   strong interaction with hardware (sensors and actuators)
actuator, or a gateway,
and with each of the                        connection to vehicle networks like CAN, LIN, FlexRay or Ethernet ….”
FlexRay, Controller
                            Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 19.
Area Network, and
Local Interconnect
                                   “A signal gateway is part of AUTOSAR COM to route signals.
Network interfaces
comprising a                       PDU based Gateway is part of PDU router.”
corresponding network
communication bus           Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 58
controller including a
corresponding network       Each physical network is also in communication with each of the FlexRay, Controller Area
communication bus           Network,and Local Interconnect Network interfaces comprising a corresponding network
driver;                     communication bus controller including a corresponding network communication bus driver.

                            As shown below, for each interface (for FlexRay, CAN, and LIN) includes a bus controller which
                            includes a corresponding network communication bus driver.


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        Claim 1                                           Accused Instrumentalities




                            Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 95

the interfaces including    The interfaces of the Autosar-compliant ECUs includea first communication interface for
                            interfacing with the first physical network, the first communication interface including a first
a first communication       communication interface-related data link layer component, said first communication interface
interface for interfacing   configured to extract variables from the overall message communicated by the first physical
with the first physical



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                                                           EXHIBIT E
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         Claim 1                                              Accused Instrumentalities
network, the first       network employing a first protocol and storing the packet data unit representing the datum
communication interface information carried by the overall message from a first physical network in the database.
including a first
communication            “Data link layer” and “network layer” are terms used with regards to the network protocol stacks.
interface-related data
link layer component,    For example, as is known in the art, TCP/IP is the framework used on the internet
said first communication (https://en.wikipedia.org/wiki/Internet_protocol_suite). OSI is the theoretical model that forms
interface configured to  the basis for all networking frameworks (https://en.wikipedia.org/wiki/OSI_model). OSI consists
extract variables from   of 7 layers, where layer 2 is the “data link layer” and layer 3 is the “network layer”.
the overall message      The data link layer is responsible for taking the signals from the physical layer (layer 1) and
communicated by the      putting them together into frames. It also does some error checking to ensure the bits received are
first physical network   the same as the bits transmitted, using error checking algorithms such as CRC.
employing a first
protocol and storing the The network layer deals with addressing and ensuring that the bits received were addressed to this
packet data unit         specific device. This would be necessary on a shared bus since each device connected to the
representing the datum   shared bus would be receiving all of the data transmitted on the bus, but a device would ignore
information carried by   and drop data not destined for it.
the overall message
                         For example, with ethernet connections, AUTOSAR uses the TCP/IP protocol stack: “[t]he
from a first physical
                         TCP/IP protocol stack (TCP/IP stack) is intended to handle layers 2 through 4 of the ISO/OSI
network in the database;
                         layer model,” where Ethernet is specifically the layer 2 protocol, IP is the layer 3 protocol, and
and
                         TCP is the layer 4 protocol. Autosar Document ID 419, “Requirements on Ethernet Support in
                         AUTOSAR”, v.4.4.0, p. 9.

                          If standard protocols are used, such as Ethernet for the data link layer and IP for the network
                          layer, then the header will be added to the data before it leaves the layer. For example, the data
                          link layer will receive the packet from the network layer, add a header to the packet (making it a
                          frame), and then send the frame to the physical layer (layer 1). The common protocols add some


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Claim 1                                              Accused Instrumentalities
                  type of header to each data unit. They are typically called different things at different layers. The
                  network layer uses packets and the data link layer uses frames.

                  For both CAN and Flexray, the transport layer (layer 4) resides between the PDU Router and the
                  FlexRay Interface, performing tasks that any transport layer would typically perform
                  (segmentation of segments that are too large to fit into a single packet at the network layer). See
                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, p. 9
                  and AUTOSAR Document ID 014, “AUTOSAR Specification of CAN Transport Layer”, v4.2.2, p.
                  8) The specifics of the network and data link layers within FlexRay and CAN are discussed
                  within the respective documentation regarding the interface (See Autosar Document ID 027,
                  “Specification of FlexRay Interface”, v.4.4.0 and Autosar Document ID 012, “Specificaiton of
                  CAN Interface”, v4.4.0, respectively)

                  The automotive ECU has a plurality of interface, including a first interface (e.g., CAN interface,
                  etc.) for interfacing with the first network (e.g., CAN, etc.), the first interface including a first
                  network-related data-link layer part (e.g., the part of the CAN interface module that receives and
                  transmits L-PDUs) which inherently uses a first network-related data link layer header (e.g., the
                  headers associated with L-PDUs). The automotive ECU also comprises a first interface-related
                  network layer part (e.g., the part of the CAN interface module that receives and transmits N-
                  PDUs/ I-PDUs) which inherently uses a first network-related network link layer header (e.g., the
                  headers associated with N-PDUs). The first network is at least one of the Controller Area
                  Network, the Flexray network, or the Local Interconnect Network.

                  As shown below, the protocol data unit of the data link layer is an “L-PDU”, and the protocol data
                  unit of the network layer is an “N-PDU”.




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Claim 1                                         Accused Instrumentalities




                  Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 93

                  As illustrated below, AUTOSAR provides for interface with a device on a first network of a
                  Controller Area Network (CAN) network. The first network related data link layer part enables
                  communication of L-PDUs with the CAN driver and the CAN. The first network related network
                  layer part enables communication of N-PDUs with the CAN transport protocol.




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        Claim 1                                           Accused Instrumentalities




                            Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 95

a second communication      The Autosar-compliant vehicle includes a control unit that also includes a second interface (e.g.,
interface for interfacing   FlexRay interface) for interfacing with the second network (e.g., FlexRay network), the second
with the second physical    interface including a second interface-related data link layer part (e.g., the part of the FlexRay
network utilizing a         interface module that receives and transmits L-PDUs), which inherently uses a second network-
protocol different than     related data link layer header , and a second interface-related network layer part (e.g., the part of
the protocol of the first   the FlexRay interface module that receives and transmits N-PDUs/I-PDUs), which inherently uses
physical network, the       a second network-related network layer header,


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                                                          EXHIBIT E
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         Claim 1                                             Accused Instrumentalities
second communication     The second network (e.g., FlexRay network) is different from the first network (e.g., CAN) and is
interface including a    at least one of the Controller Area Network, the Flexray network, or the Local Interconnect
second communication     Network.
interface-related data
link layer component;    “Data link layer” and “network layer” are terms used with regards to the network protocol stacks.

                         For example, as is known in the art, TCP/IP is the framework used on the internet
                         (https://en.wikipedia.org/wiki/Internet_protocol_suite). OSI is the theoretical model that forms
                         the basis for all networking frameworks (https://en.wikipedia.org/wiki/OSI_model). OSI consists
                         of 7 layers, where layer 2 is the “data link layer” and layer 3 is the “network layer”.

                         The data link layer is responsible for taking the signals from the physical layer (layer 1) and
                         putting them together into frames. It also does some error checking to ensure the bits received are
                         the same as the bits transmitted, using error checking algorithms such as CRC.

                         The network layer deals with addressing and ensuring that the bits received were addressed to this
                         specific device. This would be necessary on a shared bus since each device connected to the
                         shared bus would be receiving all of the data transmitted on the bus, but a device would ignore
                         and drop data not destined for it.

                         For example, with ethernet connections, AUTOSAR uses the TCP/IP protocol stack: “[t]he
                         TCP/IP protocol stack (TCP/IP stack) is intended to handle layers 2 through 4 of the ISO/OSI
                         layer model,” where Ethernet is specifically the layer 2 protocol, IP is the layer 3 protocol, and
                         TCP is the layer 4 protocol. Autosar Document ID 419, “Requirements on Ethernet Support in
                         AUTOSAR”, v.4.4.0, p. 9.

                         If standard protocols are used, such as Ethernet for the data link layer and IP for the network
                         layer, then the header will be added to the data before it leaves the layer. For example, the data
                         link layer will receive the packet from the network layer, add a header to the packet (making it a


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                                                   EXHIBIT E
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Claim 1                                              Accused Instrumentalities
                  frame), and then send the frame to the physical layer (layer 1). The common protocols add some
                  type of header to each data unit. They are typically called different things at different layers. The
                  network layer uses packets and the data link layer uses frames.

                  For both CAN and Flexray, the transport layer (layer 4) resides between the PDU Router and the
                  FlexRay Interface, performing tasks that any transport layer would typically perform
                  (segmentation of segments that are too large to fit into a single packet at the network layer). See
                  Autosar Document ID 601, “Specification of FlexRay AUTOSAR Transport Layer”, v.4.4.0, p. 9
                  and AUTOSAR Document ID 014, “AUTOSAR Specification of CAN Transport Layer”, v.4.4.0,
                  p. 8) The specifics of the network and data link layers within FlexRay and CAN are discussed
                  within the respective documentation regarding the interface (See Autosar Document ID 027,
                  “Specification of FlexRay Interface”, v.4.4.0 and Autosar Document ID 012, “Specificaiton of
                  CAN Interface”, v.4.4.0, respectively)

                  See the previously noted Figures:




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                                                EXHIBIT E
                  U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES
Claim 1                                         Accused Instrumentalities




                  Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 93




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                                                            EXHIBIT E
                             U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES
        Claim 1                                            Accused Instrumentalities




                             Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 95

wherein the automotive       Autosar requires that ECUs must be configured such that the stored information may be shared
electronic control unit is   with the second physical network by replicating the packet unit data obtained from the first
configured such that the     physical network by composing another message configured to be communicated using the
                             different protocol of the second physical network.
stored information may
be shared with the           The PDU Router in each ECU “Provides routing of PDUs between different abstract
second physical network      communication controllers and upper layers.” Autosar Document ID 053, “Layered System
by replicating the packet    Architecture”, v.4.4.0, p. 94.


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                                                             EXHIBIT E
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          Claim 1                                         Accused Instrumentalities
unit data obtained from
the first physical          Autosar uses the OSI reference model for communication. As is known in the industry, the OSI
network by composing        reference model contains 7 layers, where layer 1 is the physical layer, layer 2 is the data link
                            layer, and layer 3 is the network layer. Messages are typically composed at the top-most layer
another message
                            (the application layer, layer7), and as the message passes through each layer below that top-most
configured to be            layer, headers are typically added to the message at each layer. Thus, information (i.e., an SDU)
communicated using the      using Autosar-compliant systems may start at the highest levels as an I-PDU when being
different protocol of the   transported between different networks using the PDU Router. As the message passes down
second physical             through the interface-related network layer part, a network layer header is added to the
network.                    information, where it is termed an N-PDU, and as it then passes through the interface-related data
                            link layer part, a network-related data link layer header is added, whereby it is termed an L-PDU,
                            before it is passed to the physical link of the network for transmission of raw bit streams over the
                            physical network itself. Each L-PDU is specific for a particular network – CAN, FlexRay, LIN,
                            etc, and thus when sharing information from a first network using a first protocol to a second
                            network using a different protocol, the messages being sent must necessarily be configured to be
                            communicated using the different protocol of the second network.




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                                                EXHIBIT E
                  U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES
Claim 1                                         Accused Instrumentalities




                  Autosar Document ID 053, “Layered System Architecture”, v.4.4.0, p. 93




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                                                EXHIBIT E
                  U.S. PATENT NO. 10,248,477 COMPARED TO ACCUSED INSTRUMENTALITIES
Claim 1                                         Accused Instrumentalities




                  Autosar Document ID 053, “Layered System Architecture”, v.4.2.2, p. 90




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